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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND

  ____________________________________
                                      )
  UNITED STATES                       )
                                      )
              v.                      )               Cr. No. 16-035-JJM-PAS
                                      )
  DANIEL SAAD,                        )
              Defendant.              )
  ____________________________________)

                            MEMORANDUM AND ORDER

  JOHN J. McCONNELL, JR., Chief United States District Judge

        Daniel Saad has petitioned this Court under 28 U.S.C. § 2255 to vacate, set

  aside, or correct his judgment of conviction, entered after he was found guilty of two

  counts of wire fraud, one count of use of fire to commit wire fraud, and one count of

  arson of a building. He now claims that the Court should vacate his conviction

  because he is actually innocent of three of the charges, he received ineffective

  assistance of counsel, and law enforcement engaged in misconduct. The Court has

  determined that no hearing is necessary. The Court finds that Mr. Saad’s Motion to

  Vacate (ECF No. 92) lacks merit and thus DENIES his petition.

  FACTS

        A federal grand jury sitting in the District of Rhode Island indicted Mr. Saad

  on two counts of wire fraud (Counts 1-2), one count of using fire to commit wire fraud

  (Count 3), and one count of arson of a building involving interstate commerce (Count

  4). Mr. Saad was arrested and arraigned two days later. The charges, and Mr. Saad’s
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  arrest, stemmed from a fire at Snow’s Clam Box, a restaurant Mr. Saad owned in

  Glocester, RI, on November 30, 2014.

        Subsequently, a jury convicted Mr. Saad on all four charges.        The Court

  sentenced him to three sixty–month terms of imprisonment for Counts 1, 2, and 4, to

  run concurrently, a consecutive 120–month term of imprisonment on Count 3, and

  one year of supervised release as to each Count, to run concurrently. Mr. Saad

  appealed the judgment, which the First Circuit affirmed. He did not seek further

  review.

        Mr. Saad timely filed this Motion to Vacate.

  LAW

        A.     Section 2255

        Section 2255 provides for post-conviction relief only if the court sentenced a

  petitioner in violation of the Constitution or lacked jurisdiction to impose the

  sentence, if the sentence exceeded the statutory maximum, or if the sentence is

  otherwise subject to collateral attack. United States v. Addonizio, 422 U.S. 178, 185

  (1979); David v. United States, 134 F.3d 470, 474 (1st Cir. 1998). In trying to

  collaterally attack his sentence, the petitioner bears the burden of proving

  “exceptional circumstances” that warrant redress under § 2255. See Hill v. United

  States, 368 U.S. 424, 428 (1962); Mack v. United States, 635 F.2d 20, 26-27 (1st Cir.

  1980). For example, an error of law must constitute a “fundamental defect which

  inherently results in a complete miscarriage of justice.” Hill v. United States, 368

  U.S. at 428; accord David, 134 F.3d at 474.



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        B.     Procedural Default

        “Where a defendant has procedurally defaulted a claim by failing to raise it on

  direct review, the claim may be raised in habeas only if the defendant can first

  demonstrate either ‘cause’ and actual ‘prejudice,’ or that he is ‘actually innocent’ of

  the crimes for which he was convicted.” Bousley v. United States, 523 U.S. 614, 622

  (1998) (internal citations omitted); see also Coleman v. Thompson, 501 U.S. 722, 750

  (1991); Murray v. Carrier, 477 U.S. 478, 496 (1986). “Cause” consists of “some

  objective factor external to the defense[.]” Carrier, 477 U.S. at 488; see also Coleman,

  501 U.S. at 753 (noting that, in Carrier, “[w]e explained clearly that ‘cause’ under the

  cause and prejudice test must be something external to the petitioner, something that

  cannot fairly be attributed to him”). To demonstrate prejudice, the “habeas petitioner

  must show ‘not merely that the errors at . . . trial created a possibility of prejudice,

  but that they worked to his actual and substantial disadvantage, infecting his entire

  trial with error of constitutional dimensions.’” Carrier, 477 U.S. at 494 (quoting

  United States v. Frady, 456 U.S. 152, 170 (1982)) (alteration in original); see also

  Derman v. United States, 298 F.3d 34, 45 (1st Cir. 2002) (“The showing of prejudice

  needed to cure a procedural default generally requires a habeas petitioner to

  demonstrate that there is a reasonable probability that the result of the trial would

  have been different absent the error. The question is not whether the petitioner, qua

  defendant, would more likely have received a different verdict had the error not

  occurred, but whether he received a fair trial, understood as a trial worthy of

  confidence, notwithstanding the bevue.”) (internal citations and quotation marks



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  omitted). The defendant must show both cause and prejudice. Carrier, 477 U.S. at

  494; Derman, 298 F.3d at 45 (noting that petitioner bears burden of demonstrating

  both cause and prejudice).

         The “actual innocence” standard established by the Supreme Court in Carrier

  “requires the habeas petitioner to show that a constitutional violation has probably

  resulted in the conviction of one who is actually innocent.” Schlup v. Delo, 513 U.S.

  298, 327 (1995). To establish the requisite probability, “a petitioner must show that

  it is more likely than not that no reasonable juror would have found petitioner guilty

  beyond a reasonable doubt.” Id. at 327. A credible claim of actual innocence “requires

  petitioner to support his allegations of constitutional error with new reliable

  evidence—whether it be exculpatory scientific evidence, trustworthy eyewitness

  accounts, or critical physical evidence—that was not presented at trial”). Id. at 324.

  The standard is “demanding and permits review only in the ‘extraordinary’ case.”

  House v. Bell, 547 U.S. 518, 538 (2006) (quoting Schlup, 513 U.S. at 327). “‘[A]ctual

  innocence’ means factual innocence, not mere legal insufficiency.” Bousley, 523 U.S.

  at 623 (citing Sawyer v. Whitley, 505 U.S. 333, 339 (1992)). “In cases where the

  Government has forgone more serious charges in the course of plea bargaining,

  petitioner’s showing of actual innocence must also extend to those charges.” Id. at

  624.

         C.    Strickland

         The Sixth Amendment guarantees defendants the right to effective assistance

  of counsel. Lema v. United States, 987 F.2d 48, 51 (1st Cir. 1993) (citing Strickland



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  v. Washington, 466 U.S. 668, 687 (1984)). That said, “[t]he Constitution does not

  guarantee a defendant a letter-perfect defense or a successful defense; rather, the

  performance standard is that of reasonably effective assistance under the

  circumstances then obtaining.” United States v. Natanel, 938 F.2d 302, 309-10 (1st

  Cir. 1991).

           A defendant who claims that he was deprived of his Sixth Amendment right to

  effective assistance of counsel must prove:

        (1)   that his counsel’s performance fell below an objective standard of
  reasonableness; and

         (2)    a reasonable probability that, but for counsel’s unprofessional errors,
  the result of the proceeding would have been different.

  Strickland, 466 U.S. at 687-88; United States v. Manon, 608 F.3d 126, 131 (1st Cir.

  2010).    In assessing the adequacy of counsel’s performance, a defendant “’must

  identify the acts or omissions of counsel that are alleged not to have been the result

  of reasonable professional judgment,’ and the court then determines whether, in the

  particular context, the identified conduct or inaction was ‘outside the wide range of

  professionally competent assistance.’” Manon, 608 F.3d at 131 (quoting Strickland,

  466 U.S. at 690). As for the second prong, or the prejudice requirement under

  Strickland, a “reasonable probability is one sufficient to undermine confidence in the

  outcome.      In making the prejudice assessment, [the court] focus[es] on the

  fundamental fairness of the proceeding.” Id. (internal citation omitted). Unless the

  petitioner makes both showings, the court cannot say that the conviction resulted

  from a “breakdown in the adversary process that renders the result unreliable.”



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  Strickland, 466 U.S. at 687; see also Reyes-Vejerano v. United States, 117 F. Supp.

  2d 103, 106 (D. P.R. 2000) (“The petitioner has the burden of proving both prongs of

  this test, and the burden is a heavy one.”). In sum, “[t]he benchmark for judging any

  claim of ineffectiveness must be whether counsel’s conduct so undermined the proper

  functioning of the adversarial process that the trial cannot be relied on as having

  produced a just result.” Strickland, 466 U.S. at 686.

        Strickland instructs, “[j]udcicial scrutiny of counsel’s performance must be

  highly deferential.” Id. at 689. The court “must indulge a strong presumption that

  counsel’s conduct falls within the wide range of reasonable professional assistance;

  that is, the defendant must overcome the presumption that, under the circumstances,

  the challenged action ‘might be considered sound trial strategy.’” Id. (quoting Michel

  v. Louisiana, 350 U.S. 91, 101 (1955)). Moreover, “[a]n error by counsel, even if

  professionally unreasonable, does not warrant setting aside the judgment of a

  criminal proceeding if the error had no effect on the judgment.” Id. at 691. Finally,

  “[a] fair assessment of attorney performance requires that every effort be made to

  eliminate the distorting effects of hindsight, to reconstruct the circumstances of

  counsel’s challenged conduct, and to evaluate the conduct from counsel’s perspective

  at the time.” Id. at 689.

        The same principles apply in the context of guilty pleas. See Hill v. Lockhart,

  474 U.S. 52, 57 (1985). The Supreme Court held that “the two-part Strickland v.

  Washington test applies to challenges to guilty pleas based on ineffective assistance

  of counsel.” Id. at 58; see also Padilla v. Kentucky, 559 U.S. 356, 371 n.12 (2010) (“In



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  Hill, the Court recognized—for the first time—that Strickland applies to advice

  respecting a guilty plea.”). The first prong of the Strickland test is nothing more than

  a restatement of the standard of attorney competence described above.           Hill v.

  Lockhart, 474 U.S. at 58. The second, or “prejudice,” requirement, on the other hand,

  focuses on whether counsel’s constitutionally ineffective performance affected the

  outcome of the plea process. Id. at 59. “In the context of pleas a defendant must show

  the outcome of the plea process would have been different with competent advice.”

  Lafler v. Cooper, 566 U.S. 156, 163 (2012) (citing Missouri v Frye, 566 U.S. 134, 148

  (2012)); see also Frye, 566 U.S. at 147 (“To establish prejudice in this instance, it is

  necessary to show a reasonable probability that the end result of the criminal process

  would have been more favorable by reason of a plea to a lesser charge or a sentence

  of less prison time.”). The Court reiterated that, as stated in Strickland, “these

  predictions of the outcome at a possible trial, where necessary, should be made

  objectively ….” Hill v. Lockhart, 474 U.S. at 59-60.

  ANALYSIS

        As noted above, Mr. Saad filed the Motion to Vacate (ECF No. 92), and

  accompanying exhibits (ECF No. 92-1), and the Government then filed a response in

  opposition (ECF No. 98), also with accompanying exhibits (ECF Nos. 98-1–98-3).1 To

  date, Mr. Saad has not filed a reply to the Government’s opposition.

        Mr. Saad alleges that he is actually innocent of the three wire fraud counts,

  ECF No. 92 at 5-9 (Ground One); that he received ineffective assistance of counsel,

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        1 The Government’s exhibits include the Affidavit of Mr. Saad’s trial counsel and
  attachments. ECF No. 98-1.

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  id. at 9-64 (Grounds Two–Six); and that law enforcement officials committed

  misconduct, id. at 64-65 (Ground Seven).2

        A. Actual Innocence

        Initially, Mr. Saad argues that he is actually innocent of the two wire fraud

  counts and, by extension, the use of fire to commit wire fraud count. ECF No. 92 at

  5. He also faults counsel for failing to discover this “fact,” move to dismiss the counts,

  or rebut the Government’s evidence. Id. at 7, 9. According to Mr. Saad:

        The Government’s theory of wire fraud consisted solely of its contention
        that the Petitioner contacted his insurance agent (Lorraine Lavigne) by
        telephone in order to initiate an insurance claim. In turn, the
        Government alleged, Mrs. Lavigne generated an email to XS Brokers
        and then XS Brokers sent an email to its “Adjuster”. [sic]

        However, what the Government neglected to inform the jury and, more
        significantly, what defense counsel failed to discover and make use of, is
        the obvious and incontrovertible fact that the Petitioner did not contact
        his insurance company (1) of his own volition or (2) in order to make a
        claim. Rather, the information available to the Government and defense
        counsel demonstrates that the Petitioner made that call for one simple
        reason: Rhode Island Deputy Fire Marshal, Paul Manning (Deputy
        Manning) [told him to] do so.

  Id. at 7. Therefore, Mr. Saad maintains, he “did not act maliciously or in bad faith.

  He simply followed the instructions of Deputy Manning.” Id. at 8. Further, “[t]he

  record is barren of even a scintilla of evidence that the Petitioner took any further

  action to induce either Oxford Insurance or XS brokers to process or pay any monies

  on any claims for a good reason: The petitioner took no such actions.” Id.




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        2   Page numbers refer to the pagination generated by the Court’s Electronic Filing
  System.

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        Mr. Saad’s claim fails for three reasons. First, to the extent he intends to use

  actual innocence—as opposed to cause and prejudice—to overcome his failure to raise

  this argument on direct appeal, he has not met the standard. As noted above, an

  actual innocence claim requires a showing that “it is more likely than not that no

  reasonable juror would have found petitioner guilty beyond a reasonable doubt.”

  Schlup, 513 U.S. at 327.        The petitioner must “support his allegations of

  constitutional error with new reliable evidence—whether it be exculpatory scientific

  evidence, trustworthy eyewitness accounts, or critical physical evidence—that was

  not presented at trial.” Id. at 324. “Thus, a petitioner does not meet the threshold

  requirement unless he persuades the district court that, in light of the new evidence,

  no juror, acting reasonably, would have voted to find him guilty beyond a reasonable

  doubt.” Id. at 329. Mr. Saad has provided no new evidence that was not, or could not

  have been, presented at trial; therefore, he cannot make the requisite showing. See

  Schlup, 513 U.S. at 316 (“Without any new evidence of innocence, even the existence

  of a concededly meritorious constitutional violation is not in itself sufficient to

  establish a miscarriage of justice that would allow a habeas court to reach the merits

  of a barred claim.”).   Moreover, Mr. Saad’s argument goes to legal, not factual,

  innocence. See Bousley, 523 U.S.at 623 (requiring showing of factual innocence, “not

  mere legal insufficiency”); see also Barreto-Barreto v. United States, 551 F.3d 95, 102

  (1st Cir. 2008) (“The petitioners raise a purely legal argument concerning an issue of

  statutory interpretation. The petitioners do not present any new evidence to show




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   their ‘factual innocence.’ They have failed, therefore, to present a colorable claim of

   actual innocence.”).

         Second, to the extent Mr. Saad intends his actual innocence claim to be

   considered as a freestanding claim, not as a gateway to having a procedurally

   defaulted claim considered, see McQuiggan v. Perkins, 569 U.S. 383, 386 (2013);

   Schlup, 513 U.S. at 315, that argument also fails. “[T]enable actual-innocence

   gateway pleas are rare[.]” McQuiggan, 569 U.S. at 386; see also House, 547 U.S. at

   538 (emphasizing that the Schlup standard is “demanding” and seldom met). And

   the standard for a gateway actual innocence claim “carr[ies] less of a burden” than a

   freestanding claim. Schlup, 513 U.S. at 316. Because Mr. Saad has failed to meet

   the Schlup standard, he obviously cannot meet a higher standard for a freestanding

   actual innocence claim.

         Third, to the extent Mr. Saad contends that his defense counsel (“Counsel”)

   provided ineffective assistance with respect to this claim, Counsel has persuasively

   countered Mr. Saad’s allegations:

         I am aware of Saad’s allegation that he contacted his insurance company
         only because Rhode Island Deputy Fire Marshal Paul Manning told him
         to do so. Saad asserts this information establishes that he himself did
         nothing to induce the insurance company to pay off his claim concerning
         the Clam Box, and that I therefore should have presented Manning’s
         testimony on that score at trial. In my view Manning did not “order”
         Saad to contact his insurance company; the comment was more in the
         nature of a suggestion that Saad could follow if he chose to do so. I was
         also aware that the government would be introducing evidence that
         Saad’s insurance company had paid on an arson claim he had made in
         2012, which would have demonstrated to the jury that Saad knew the
         importance of filing an insurance claim, as well as how to go about doing
         so, years before the Snow’s Clam Box fire occurred. Saad himself
         testified about his conversation with Manning. I did move for judgment

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          of acquittal based on insufficiency of the evidence but that motion as
          well as my motion for a new trial on the same grounds were denied.
          Based on my familiarity with the elements of 18 U.S.C. § 1343 as well
          as the government’s copious circumstantial evidence of intent, I do not
          believe that Manning’s additional testimony on the same point, if
          presented, would have negated the government’s proof of the intent
          element of § 1343.

   ECF No. 98-1 at 6-7 ¶ 11 (internal citation omitted). Mr. Saad has presented nothing

   to rebut Counsel’s Affidavit beyond his own conclusory allegations, which the Court

   is not bound to accept. See United States v. McGill, 11 F.3d 223, 225 (1st Cir. 1993).

   Counsel’s actions and strategic choices fall within the “wide range of reasonable

   professional assistance” and “sound trial strategy.” Jewett v. Brady, 634 F.3d 67, 75

   (1st Cir. 2011); see also Strickland, 466 U.S. at 689. Based on the foregoing, the Court

   rejects Mr. Saad’s first ground for relief.3

          B. Ineffective Assistance of Counsel

          Next, Mr. Saad presents a plethora of complaints that Counsel provided

   ineffective assistance throughout the proceedings. These include Counsel’s alleged

   conflict of interest; failure to discover and utilize the narrative of Officer Donald J.

   Sousa; failure to move to suppress the warrant to search the premises; failure to

   conduct reasonable investigations, interview witnesses, and adequately advise Mr.

   Saad regarding the consequences of testifying and the impact of the testimony of Leah




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          3 With respect to Strickland’s performance and prejudice prongs, as noted above, “a
   reviewing court need not address both requirements if the evidence as to either is lacking.”
   Sleeper v. Spencer, 510 F.3d 32, 39 (1st Cir. 2007). Here, as elsewhere in this Memorandum
   and Order, the Court discusses only the performance requirement.
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   Saad; and advice to reject the Government’s plea offer and/or failure to pursue an

   Alford4 plea. The Court addresses each of Mr. Saad’s allegations in turn.

                  1. Conflict of interest

         Mr. Saad asserts that his Sixth Amendment right to the effective assistance of

   counsel was violated when Counsel provided legal advice to a Government witness,

   Justin Moseley, while Mr. Moseley was under subpoena and testifying, in an effort to

   conceal an ethical violation—in essence, suggesting testimony which contradicted Mr.

   Moseley’s prior testimony—which occurred during a meeting between Mr. Saad, Mr.

   Moseley, and Counsel at the fire scene. ECF No. 92 at 9-10. Counsel allegedly

   compounded the conflict by failing to alert the Court to Mr. Moseley’s testimonial

   vacillations and took steps to conceal them. Id. at 18.

         “In order to demonstrate a violation of his Sixth Amendment rights, a

   defendant must establish that an actual conflict of interest adversely affected his

   lawyer’s performance.”       Cuyler v. Sullivan, 446 U.S. 335, 350 (1980); see also

   Strickland, 466 U.S. at 692 (quoting Cuyler); Reyes-Verano, 117 F. Supp. 2d at 109

   (“To establish a conflict of interest, the defendant must show that (1) there was a

   plausible alternative defense strategy that his attorney could have pursued and (2)

   this alternative tactic was ‘inherently in conflict with or not pursued due to the

   attorney’s other loyalties or interests.’’ (quoting Familia-Consoro v. United States,

   160 F.3d 761, 764 (1st Cir. 1998)). The possibility of conflict is not enough. Cuyler,

   446 U.S. at 350; Reyes-Verano, 117 F. Supp. 2d at 109 (“A merely theoretical or


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         4   North Carolina v. Alford, 400 U.S. 25 (1970).
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   speculative conflict of interest will not be sufficient to demonstrate a Sixth

   Amendment violation.”). Mr. Saad cannot meet this standard.

            Counsel effectively refutes all of Mr. Saad’s allegations. The Court quotes at

   length from Counsel’s Affidavit because it provides detail and context for Mr. Saad’s

   claim.

                   14.    As part of my defense investigation, I reviewed a transcript
            of Justin Moseley’s testimony before the grand jury as well as a
            transcript of Justin Moseley’s recorded interview with the Rhode Island
            State Fire Marshal’s office. I knew Moseley was going to be a
            prosecution witness and I never contemplated at any time providing him
            with legal representation. I met with Moseley at my office well before
            the start of trial.

                   15.    I interviewed Mr. Moseley before trial in his capacity as a
            prosecution witness and also met with him and Saad on January 15,
            2017, at the site of Snow’s Clam Box. During those meetings, I spoke
            with Moseley about his recollections of his entry into the building after
            the fire, and also spoke with him about his use of a gas-powered
            generator. While at Snow’s Clam Box, I asked Moseley to show me those
            areas of the restaurant where he reportedly worked with the generator.
            I never stated or implied to Moseley that he should change his testimony
            concerning where the generator had been located or concerning the
            route Moseley took to remove it from the building.

                  16.    On the evening after Moseley began testifying for the
            prosecution, Saad called me and asked me if Moseley could review the
            statements he had made before trial. Saad informed me that, according
            to Moseley, the prosecutor had never shown him his statements, and I
            therefore agreed to supply them to him. I told Saad that he should not
            accompany Moseley when Moseley came to my office to review the
            statements because Saad’s participation in Moseley’s review of the
            documents could appear improper.

                   17.   Moseley arrived at my office at about 7:30 a.m. the morning
            after I spoke with Saad. Accompanied by [my associate],[5] I provided
            Moseley with copies of his statements and then left the room. I never
            reviewed Moseley’s statements with him. Moseley never asked me for
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            The associate is an attorney with Counsel’s office and assisted Counsel with his
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   preparation for Mr. Saad’s trial. ECF No. 98-1 at 4 ¶ 6.

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         legal advice and I never gave him any. We never discussed his retention
         of me as his attorney in any fashion. When Moseley was finished
         reviewing his statements I exchanged pleasantries with him before he
         left, but had nothing in the way of a substantive conversation with him.

                 18.   I heard Moseley testify in court on January 20, 2017, after
         he had the chance to review his prior statements. When the prosecutor
         asked Moseley during the trial whether “yesterday after you had
         testified here, did you review a transcript that you had of an interview
         you had previously engaged in,” I understood the focus of the
         prosecutor’s question to be the night of January 19, 2017, which was the
         night before Moseley came to my office to review his prior statements. I
         therefore believe that, in context, Moseley’s negative response to the
         prosecutor’s question was truthful.

                19.   As previously noted, I never suggested to Moseley at any
         point that he should testify about different locations of the gas-powered
         generator he used at Snow’s Clam Box. The first time I heard Moseley
         state that he moved the generator was during the trial. Moseley never
         showed me any handwritten notes at any point, and when I later heard
         his testimony concerning such notes, I was skeptical they existed. That
         is the meaning of the text message I sent to Saad that Saad has
         reproduced in his § 2255 petition at p. 31.

   ECF No. 98-1 at 9-11 ¶¶ 14-19 (internal citations omitted).

         Mr. Saad also claims that the alleged conflict of interest prevented Counsel

   from objecting when the prosecutor made improper statements during closing

   arguments, allowing the prosecutor to “paint Moseley as a liar who planned (with the

   Petitioner) to present false testimony scripted to innocently account for gasoline in

   the building.” ECF No. 92 at 26; see also id. at 27 (quoting prosecutor’s statement

   regarding Mr. Moseley’s testimony: “have you ever seen a more unmitigated liar in

   your life than Justin Moseley who comes before you on day one and tells you this

   elaborate story?”).

         Counsel explains his decision not to object as follows:



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         During the prosecutor’s closing argument, he accused Saad and Moseley
         of lying. Because both Saad and Moseley had made a number of
         inconsistent statements before and during trial, I considered the
         prosecutor’s characterization of their testimony to be adequately
         grounded in the factual record. As a strategic matter, I do not like to
         interrupt an opposing party’s closing argument unless counsel’s
         statements are particularly egregious because doing so only further calls
         the jury’s attention to them. In this case, because the prosecutor’s
         remarks had an evidentiary basis, I did not believe at the time that they
         were “egregious” enough to warrant interrupting the argument with an
         objection, and I therefore made a tactical decision not to do so.

   ECF No. 98-1 at 12-13 ¶ 26. Clearly Counsel made a strategic choice, which the Court

   will not second-guess. See Knight v. Spencer, 447 F.3d 6, 15 (1st Cir. 2006) (“Under

   the first prong of Strickland, there is a ‘strong presumption’ that counsel’s strategy

   and tactics fall ‘within the range of reasonable professional assistance,’ and courts

   should avoid second-guessing counsel’s performance with the use of hindsight.”

   (quoting Strickland, 466 U.S. at 689); Sleeper, 510 F.3d at 38 (“Counsel has ‘wide

   latitude in deciding how best to represent a client . . .’” (quoting Yarborough v. Gentry,

   540 U.S. 1, 5-6 (2003)).

         Moreover, Mr. Saad raised the issue of the prosecutor’s commentary on the

   witness’s testimony on direct appeal. See United States v. Saad, 888 F.3d 561, 569

   (1st Cir. 2018). The First Circuit found that Mr. Saad had not shown “a reasonable

   likelihood that the result would have been different without the challenged

   comments.” Id. at 570-71 (internal quotation marks omitted). Because the appellate

   court found that Mr. Saad had not demonstrated prejudicial error, Counsel cannot be

   faulted for declining to object to the comments. See Lafler, 566 U.S. at 167 (“Because

   the objection upon which his ineffective-assistance-of-counsel claim was premised



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   was meritless, [the petitioner] could not demonstrate an error entitling him to

   relief.”); Dure v. United States, 127 F. Supp. 2d 276, 280 (D.R.I. 2001) (noting that,

   because there was no merit to petitioner’s claims of error, counsel could not be deemed

   ineffective for declining to pursue futile arguments (citing Vieux v. Pepe, 184 F.3d 59,

   64 (1st Cir. 1999)).

          As before, Mr. Saad has provided nothing beyond his own allegations to back

   up his claims against Counsel. See McGill, 1 F.3d at 225. He has not attempted to

   rebut Counsel’s Affidavit with evidence or affidavits of his own. Even assuming

   Counsel’s interpretation of the prosecutor’s question to Mr. Moseley regarding

   reviewing transcripts was incorrect, a simple mistake does not amount to ineffective

   assistance. See Natanel, 938 F.2d at 309-10; see also Reyes-Vejerano, 117 F. Supp.

   2d at 106 (“An attorney’s performance is deficient if it is so inferior as to be objectively

   unreasonable.” (internal quotation marks omitted)). Clearly that is not the case here.

          “[U]ntil a defendant shows that his counsel actively represented conflicting

   interests, he has not established the constitutional predicate for his claim of

   ineffective assistance.” Cuyler, 446 U.S. at 350. Mr. Saad has not demonstrated that

   Counsel actively represented conflicting interests and, therefore, the Court rejects

   Mr. Saad’s second ground for relief.6

                 2. Failure to discover or use Officer Sousa’s narrative




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          6   Because Mr. Saad has not demonstrated the existence of an actual conflict of
   interest, the court need not address whether he was adversely affected. See Cuyler, 446 U.S.
   at 350.

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         Mr. Saad challenges Counsel’s alleged failure to discover or make use of an

   “exculpatory” narrative written by Officer Sousa, which contradicted the testimony

   of an eyewitness to the fire, Tracey Smith. ECF No. 92 at 35. According to Mr. Saad,

   “Ms. Smith’s account remained relatively consistent during both her December 1st

   and December 4th interviews . . . ,” ECF No. 92 at 42, but those interviews differed

   greatly from the one she gave to Officer Sousa on the morning of the fire, see id.

         The basic premise of Mr. Saad’s argument is faulty. Counsel states that he

   made a formal request for discovery on April 2, 2016, and “thereafter received a series

   of discovery productions from the government.” ECF No. 98-1 at 3 ¶ 6. Those

   materials included Officer Sousa’s report.7 Id. at 4 ¶ 7. Thus, Counsel did not fail to

   “discover” the report.

         As for Counsel’s alleged failure to “make use of” Officer Sousa’s narrative, ECF

   No. 92 at 35, Counsel states:

         Because of my familiarity with all of the discovery materials the
         government had supplied, I was aware before trial of the factual
         discrepancies between the statements in Officer Sousa’s report of an
         interview with prosecution witness Tracey Smith and the recorded
         statements that Smith herself made to investigators later in the arson
         investigation. I originally intended to present Officer Sousa as a defense
         witness for purposes of highlighting these discrepancies for the jury, and
         therefore subpoenaed him for trial. During my cross-examination of
         Tracey Smith, however, I was able to point out to the jury all of the
         relevant discrepancies in Smith’s testimony, and I therefore concluded
         as a matter of trial strategy there was no longer any need to present
         Officer Sousa’s testimony on those points during the defendant’s case-
         in-chief.

   ECF No. 98-1 at 6 ¶ 9 (internal citation omitted).

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         7   The Government states that it produced Officer Sousa’s report to the defense on
   April 13, 2006. ECF No. 98 at 10.

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         “[A] court deciding an actual ineffectiveness claim must judge the

   reasonableness of counsel’s challenged conduct on the facts of a particular case,

   viewed as of the time of counsel’s conduct.” Strickland, 466 U.S. at 690. “The decision

   whether to call a particular witness is almost always strategic, requiring a balancing

   of the benefits and risks of the anticipated testimony.” Lema, 987 F.2d at 54; see also

   Phoenix v. Matesanz, 233 F.3d 77, 82 (1st Cir. 2000) (“[C]ounsel is strongly presumed

   to have rendered adequate assistance and made all significant decisions in the

   exercise of reasonable professional judgment. In short, strategic choices made after

   thorough investigation of law and facts relevant to plausible options are virtually

   unchallengeable.”) (internal citations and quotation marks omitted). It is clear that

   Counsel chose to address the discrepancies in Ms. Smith’s accounts through cross

   examination rather than calling Officer Sousa to testify. The Court cannot fault

   Counsel’s strategic decision in this regard. See Reyes-Vejerano, 117 F. Supp. 2d at

   108 (“A court’s determination of whether an attorney’s performance constituted

   ineffective assistance does not require it to second-guess which of two viable

   strategies would have been more likely to succeed”).

                3. Failure to move to suppress search warrant for premises

         Mr. Saad alleges that Counsel provided ineffective assistance when he failed

   to move to suppress the search warrant issued by the state court for the Snow’s Clam

   Box premises. ECF No. 92 at 46. According to Mr. Saad, the “probable cause affidavit

   contains materially false and/or misleading information, and materially relevant

   information was withheld from the judicial officer signing the warrant.” Id. Whether



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   taken together or considered separately, the “cherry-picked” information “required”

   Counsel to file a motion to suppress. Id. at 51.

         Counsel states:

         As part of my pretrial preparation in this case, I reviewed the search
         warrant issued on December 4, 2014, that authorized the search of the
         restaurant’s premises, as well as the warrant’s supporting affidavit. I
         was satisfied that the affidavit established probable cause for the
         issuance of the search warrant, and therefore in my judgment filing a
         motion to suppress was unwarranted, which is why I did not do so.

   ECF No. 98-1 at 3 ¶ 5.

         Again, Counsel is presumed to have made the decision not to file a motion to

   suppress in the exercise of reasonable professional judgment. See Phoenix, 233 F.3d

   at 82; Reyes-Vejerano, 117 F. Supp. 2d at 108 (“A court does not evaluate an

   attorney’s conduct with the benefit of hindsight, but from the attorney’s perspective

   at the time of the trial.” (citing Strickland, 466 U.S. at 689)).

                4. Failure to conduct reasonable investigations, interview
                   witnesses, and properly advise Mr. Saad regarding testimony

         Mr. Saad alleges that that Counsel was not adequately prepared effectively

   defend him at trial. ECF No. 92 at 52. Mr. Saad’s laundry list of complaints against

   Counsel include Counsel’s supposed failures to: conduct a reasonable investigation

   into the Government’s circumstantial case against Mr. Saad and possible defenses

   thereto, including interviewing witnesses suggested and provided by Mr. Saad;

   adequately advise Mr. Saad of the consequences of testifying in his own defense in

   light of his multiple false alibis; and adequately advise Mr. Saad of the likely impact

   that Leah Saad’s testimony that he asked her to support one of his false alibis would



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   have on the jury. Id. Mr. Saad’s allegations are simply that, allegations. See McGill,

   11 F.3d at 225. Moreover, Counsel has addressed them thoroughly.

         For example, with respect to interviewing witnesses, Counsel states:

         I understand that Saad has complained that I did not interview and/or
         call various witnesses for trial. I did not pursue these witnesses for trial
         because I made an informed strategic decision at the time that they
         would not have buttressed the defense’s position in any way, and/or that
         I had more effective means of conveying the same information to the
         jury[.]

   ECF No. 98-1 at 8 ¶ 13. Counsel then proceeds to discuss specific witnesses Mr. Saad

   proposed and why Counsel chose not to call them to testify. See id. ¶ 13(a) & (b).

         As noted above, the decision whether to call a specific witness “is almost always

   strategic . . . .” Phoenix, 233 F.3d at 83 (quoting Lema, 987 F.2d at 54). Further,

   “[t]he decision to interview potential witnesses, like the decision to present their

   testimony, must be evaluated in light of whatever trial strategy reasonably

   competent counsel devised in the context of the particular case.” Lema, 987 F.2d at

   55; see also Sleeper, 510 F.3d at 38 (noting counsel’s “wide latitude” in determining

   how best to represent his client). A strategic choice that the witnesses would not be

   helpful, or that there were “more effective means of conveying the same information

   to the jury,” ECF No. 98-1 at 8 ¶ 13, is a tactical decision which the Court presumes

   was made in the exercise of reasonable professional judgment, see Strickland, 466

   U.S. at 689; see also ECF No. 98-1 at 8 ¶ 13.(b) (“Given the state of the prosecution’s

   evidence, I believed I could undermine the persuasiveness of the prosecution’s theory

   of the case without presenting a witness whose testimony would have contributed

   nothing to my efforts.”). Mr. Saad has not overcome the presumption that Counsel’s

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   actions “might be considered sound trial strategy,” Strickland, 466 U.S. at 689, and

   his suggestions to the contrary, see, e.g., ECF No. 92 at 60 (“There is a very high

   likelihood that [the witness’s] testimony would have impacted the jury’s verdict . . .”),

   amount to pure speculation.

            Mr. Saad also assails Counsel’s failure to interview possible witnesses “who

   would have placed the varying (but nevertheless stable) financial condition of

   Petitioner’s collective assets and liabilities into perspective against the backdrop of

   the Government’s contention that the motive for the alleged arson was to wipe away

   debt.”     Id. at 53.    These “potential defense witnesses,” id., included vendors,

   employees, and bank officials. Id. at 53-56.

            Counsel responds:

            (c)    Saad and I had numerous discussions about the financial
            situation of his restaurants. Saad never denied that his financial
            situation was precarious. When I asked him for help in countering the
            financial information at trial, his typical response was to the effect that,
            “they are what they are. They’re a mess.” I was nevertheless able to
            exclude some of the financial information through pretrial motions.

            (d)    Because most of Saad’s financial records were introduced into
            evidence by the government, my strategy at trial was to point out to the
            jury via cross-examination and during closing argument how Saad’s
            companies were in the midst of a financial upswing and improving their
            fiscal positions at the time of the fire, and therefore that he had no
            motive to burn down Snow’s Clam Box. Based on my extensive trial
            experience, I thought this was the most effective way to proceed because
            I did not want to bore the jury with prolonged financial testimony. I
            used Saad’s tax returns to show that he was actually making money at
            the time of the fire.

   ECF No. 98-1 at 8-9 ¶ 13 (c) & (d) (internal citations omitted).




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          The observations above regarding strategic decisions to call—or not to call—

   witnesses are equally applicable here.      See Lema, 987 F.2d at 54 (“Reasonably

   competent trial counsel might well have determined that the best prospect for

   acquittal lay in discrediting the government’s witnesses, rather than presenting

   additional testimony which could appear to legitimate the government’s case or raise

   questions about the defense not previously suggested by the government’s evidence.”);

   see also Natanel, 938 F.2d at 310 (“That counsel’s stratagem may, in retrospect, have

   proved unsuccessful, or even unwise, is not the issue.”). Moreover, Mr. Saad again

   speculates as to the impact these proposed witnesses may have had on the outcome.

   See, e.g., ECF No. 92 at 54 (noting “high probability” that, had Counsel called certain

   witnesses, “the jury would have come to a different conclusion . . .”).

          Mr. Saad also criticizes Counsel’s handling of the scientific evidence regarding

   the cause of the fire:

          In essence[], Counsel waited until the last minute to familiarize himself
          with the scientific component of the Government’s case, and then was
          unable to retain a competent expert who was actually available to testify
          at trial and offer an opinion as to (a) whether he agreed or disagreed
          with the manner in which the investigation was conducted, and (b)
          whether or not he agreed with the Government’s expert’s contention
          that the fire was not accidental, but was started by an ignitable fluid.

   Id. at 57. As the Government notes, Mr. Saad is simply wrong. ECF No. 98 at 16.

          Counsel first states that, as part of his initial discovery request, he obtained

   and reviewed the report prepared by Special Agent James Hartman of the federal

   Bureau of Alcohol, Tobacco, Firearms and Explosives, in which he set forth the results

   of his investigation and his conclusions regarding the cause and origin of the fire at



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   Snow’s Clam Box. ECF No. 98-1 at 3-4 ¶¶ 6-7. Counsel also received and reviewed

   other reports related to the arson investigation. Id. at 4 ¶ 7. Subsequently, Counsel

   affirms:

         I took several actions to oppose and/or counteract the effect of the
         government’s expert testimony concerning the cause and origin of the
         fire:

          (a) I filed a motion in limine and a motion for a Daubert[8] hearing, both
              of which were aimed at excluding the government’s expert’s
              testimony. The district court denied both of these motions.

          (b) I sought scientific expertise to help me prepare to counter the
              government’s arson experts at trial. I first contacted Unified
              Investigations, a firm I was referred to by a former Providence
              deputy fire chief. In November 2016, when Unified Investigations
              declined the case due to a conflict of interests, I contacted John
              Lentini at Scientific Fire Analysis, LLC. When Lentini told me he
              was not available, he referred me to Christopher Wood of Fire Link,
              LLC. I provided Wood with a variety of relevant materials to review.
              Upon reviewing the materials, Wood informed me that he did not
              believe I would find the content of his testimony to be useful to
              Saad’s defense case; however, he felt that he could help me prepare
              to cross-examine the government’s arson experts.

          (c) I retained Wood and Fire Link in late November of 2016. Both [my
              associate][9] and I worked closely with Wood in order to prepare our
              cross-examinations of the government’s witnesses; among other
              things, he provided me with documents that helped me prepare for
              the cross-examinations. [My associate] worked closely with Wood in
              this regard as well. Because the government had the burden of proof
              at trial, and because, in Wood’s own view, his testimony would have
              been detrimental to the defense’s position, in my professional
              judgment I made a reasonable strategic decision at the time to use
              him solely to prepare my cross-examinations of the prosecution’s
              witnesses.



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         8    Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).

         9    See n.5.
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          (d) As I informed Wood after the jury returned its verdict, his help was
              instrumental in allowing me to adequately cross-examine the state
              fire marshal and Special Agent Hartman.

   Id. at 5-6 ¶ 8 (internal citations omitted).

         It is clear from the foregoing that Counsel made a reasonable investigation

   with respect to the cause of the fire. See Reyes-Vejerano, 117 F. Supp. 2d at 107

   (“Counsel for a criminal defendant must make a reasonable investigation in the

   preparation of his case. Counsel’s assistance will be found to be ineffective if he has

   performed little or no investigation in the case.”) (internal citation omitted). The

   record belies Mr. Saad’s assertions to the contrary. See id. at 108; see also Natanel,

   938 F.2d at 310 (“given adequate investigation, a lawyer’s strategic choices . . .

   relevant to plausible options are virtually unchallengeable’ on sixth amendment

   grounds” (quoting Strickland, 466 U.S. at 690)) (alteration in original). They are,

   therefore, therefore, rejected.

         In this section, Mr. Saad also complains about Counsel’s handling of the

   removal of the pellet stove from the premises. ECF No, 92 at 57-58. Mr. Saad claims

   that Counsel: “unreasonably failed to ascertain precisely when the pellet stove was

   seized, or under what authority and upon what probable cause,” id. at 58; “never

   moved to suppress any of the evidence or test results originating from the unlawful

   seizure and examination of the pellet stove,” id.; and therefore failed to prevent the

   jury from “consider[ing] evidence that was unlawfully seized without a warrant . . . ,”

   id. Mr. Saad’s argument suffers from a fatal flaw: the pellet stove was not unlawfully

   seized without a warrant.



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         Although when he spoke with the Government regarding the Motion on

   October 25, 2019, Counsel “could not recall having reviewed a second search warrant

   authorizing the seizure of a pellet stove.” ECF No. 98-1 at 3 ¶ 5. However, according

   to Counsel, “I now do have a recollection of reviewing the affidavit supporting the

   warrant for the pellet stove, and I determined that the affidavit supporting that

   warrant established the requisite probable cause.” Id. Therefore, there was no

   failure to ascertain “when . . . under what authority and upon what probable cause,”

   ECF No. 92 at 58, the pellet stove was removed. Nor was there a basis on which to

   move to suppress evidence or test results from the lawfully seized pellet stove or to

   prevent the jury from considering that evidence. See Lafler, 566 U.S. at 167; Dure,

   127 F. Supp. 2d at 280.

         Next, Mr. Saad argues that Counsel’s failure to advise him adequately of the

   consequences of testifying in his own defense in light of his “multiple false alibis,”

   ECF No. 92 at 52, as well as of “the further negative impact that the expected

   testimony of Leah Saad . . . would have upon Petitioner’s credibility in general,” id.

   at 53, was ineffective. According to Mr. Saad, Counsel “unreasonably down played

   the significance of the fact that the Petitioner had not been truthful with

   investigators until after his cell phone records were obtained,” id. at 61, and

   “convinced him that all that was necessary was to explain those variations to the

   jury,” id. at 53. These failures “were objectively unreasonable and amounted to an

   unconstitutional abandonment of the Petitioner and a total violation of his Sixth

   Amendment right to the effective assistance of counsel.” Id. at 61.



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         Mr. Saad did indeed provide the police with multiple alibis. He initially “told

   investigators at the scene that he was home sleeping when he received the first call

   alerting him to the fire . . . .” Id. at 53. When the Government put the defense on

   notice that it intended to produce evidence from Mr. Saad’s cell phone provider which

   placed him within two miles of the premises when he claimed to be home sleeping

   and within 1500 feet of Snow’s Clam Box when the fire alarm was triggered, Mr. Saad

   claimed that he was with his estranged wife, Leah Saad, in the area. Id. He asked

   her to corroborate his story and tell investigators that she was with him in the area,

   “and thus could verify that he was not at Snow’s Clam Box at the time of the fire . . .

   .” Id. Mr. Saad’s last attempt to explain his whereabouts at the time of the fire was

   that he was at a lake near the restaurant and was suicidal. ECF No. 92 at 53; see

   also Saad, 888 F.3d at 567.

         Counsel counters Mr. Saad’s allegations by first stating that:

         I frequently consulted with Saad during my pretrial preparation. I met
         with him and discussed with him the witnesses the government was
         likely to call and what their testimony would probably involve. I also
         discussed with Saad the challenges his prior conflicting, false
         statements to law enforcement officials presented for his defense, and
         reviewed those challenges with him.

   ECF No. 98-1 at 11 ¶ 20. In addition,

         In preparing for trial, I reviewed the transcript of Leah Saad’s grand
         jury testimony as well as various reports documenting investigators’
         interviews with her. These materials included a transcript of the Rhode
         Island State Fire Marshal’s office’s recorded interview with Ms. Saad.
         As an experienced criminal defense attorney, I was well aware of the
         detrimental impact that Ms. Saad’s testimony would have on the
         defense case. I discussed Ms. Saad’s testimony with Saad before trial, a
         discussion which included the fact that Ms. Saad might be given
         immunity as well as how the jury would perceive her testimony in view

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          of Saad’s own statements. I made Saad aware of the detrimental impact
          her testimony would have on his case.

   Id. at 7 ¶ 12.

          “It is all too tempting for a defendant to second-guess counsel’s assistance after

   conviction or adverse sentence, and it is all too easy for a court, examining counsel’s

   defense after it has proved unsuccessful, to conclude that a particular act or omission

   of counsel was unreasonable.” Strickland, 466 U.S. at 689. It appears that, in

   hindsight, Mr. Saad wishes he had made a different choice regarding testifying and

   seeks to blame Counsel. Even assuming Counsel did not advise Mr. Saad as strongly

   as Mr. Saad would have liked against testifying, however, that does not render

   Counsel’s assistance ineffective.      See Sleeper, 510 F.3d at 38 (“[T]he Sixth

   Amendment guarantees reasonable competence, not perfect advocacy judged with the

   benefit of hindsight.” (quoting Yarborough, 540 U.S. at 8)).

                    5. Failure to advise Mr. Saad to accept the Government’s plea
                       offer or pursue Alford plea

          Mr. Saad’s final claim of ineffective assistance is that Counsel advised him to

   reject the Government’s plea offer to a single count of wire fraud without (1)

   conducting a reasonable investigation into the Government’s case and possible

   defenses, including interviewing witnesses provided by Mr. Saad; (2) without

   exploring the possibility of entering an Alford plea; (3) without adequately advising

   Mr. Saad of the consequences of testifying in his own defense in light of the multiple

   false alibis he offered; and/or (4) without adequately advising Mr. Saad of the impact

   that the testimony of Leah Saad, his estranged wife, would have on the jury. ECF



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   No. 92 at 62. According to Mr. Saad, he never should have gone to trial, id. at 62, 64,

   and Counsel’s advice to reject the Government’s plea offer was objectively

   unreasonable, id. at 64.

         The Court has already addressed Mr. Saad’s allegations regarding conducting

   reasonable investigations, interviewing witnesses, and properly advising him

   regarding testimony. Therefore, for purposes of addressing Mr. Saad’s plea offer

   contention, the Court assumes that Counsel did not provide ineffective assistance in

   these areas.

         As noted above, the performance standard for demonstrating ineffective

   assistance of counsel in the plea context is the same as Strickland’s: that counsel’s

   performance fell below an objective standard of reasonableness. Lafler, 566 U.S. at

   163 (quoting Hill v. Lockhart, 474 U.S. at 57). In terms of prejudice, a defendant

   must show that:

         [B]ut for the ineffective advice of counsel there is a reasonable
         probability that the plea offer would have been presented to the court
         (i.e., that the defendant would have accepted the plea and the
         prosecution would not have withdrawn it in light of intervening
         circumstances), that the court would have accepted its terms, and that
         the conviction or sentence, or both, under the offer’s terms would have
         been less severe than under the judgment and sentence that in fact were
         imposed.

   Id. at 164. Mr. Saad fails to meet the standard.

         Counsel states in his Affidavit:

         As an experienced criminal defense attorney, it is both my duty and my
         practice to provide my client with information concerning the benefits of
         a plea as well as the strengths and weaknesses of his case, which I did
         with Saad.      Ultimately, however, under Rhode Island Rule of



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         Professional Conduct 1.2(a), it is the client’s decision whether to accept
         or reject the plea offer.

   ECF No. 98-1 at 11 ¶21. In this case, Counsel affirms that he informed Mr. Saad that

   the Government had extended an offer for Mr. Saad to plead guilty to one count of

   wire fraud, which carries a mandatory minimum sentence of five years incarceration;

   that he discussed the Government’s plea offer with Mr. Saad on several occasions,

   including an offer made pre-indictment; and that he never advised Mr. Saad to reject

   the Government’s offer. Id. ¶ 22. Counsel continues:

         Based on my previous conversations with Saad, I knew he did not want
         to accept the plea offer the government had proposed. Shortly before the
         Court scheduled a Frye[10] hearing, I sent Saad an email notifying him
         once more of the government’s offer, and explaining to him that the
         Court intended to conduct a hearing in order to confirm that Saad was
         aware of the Government’s offer and had decided to reject it. Saad
         emailed me the following response: “You know my answer.” Based on
         my discussions with Saad, I knew his email response meant that he
         intended to inform the Court at the Frye hearing that he wanted to
         reject the government’s offer and proceed to trial. At the Frye hearing
         held on January 5, 2017, that is exactly what happened.

   Id. at 11-12 ¶ 23 (internal citations omitted).

         The transcript of the January 5, 2017, hearing, supports Counsel’s account and

   undermines Mr. Saad’s claim.            The Court began the hearing by asking if the

   Government had made a plea offer to Mr. Saad. ECF No. 92-1 at 133.

                MR. FERLAND: Yes, your Honor. The plea negotiations in this
         case have been ongoing. In fact, we initiated plea discussions prior to
         the issuance of the indictment. Our last and final offer to counsel was a
         plea to one count of wire fraud at which point the government would
         recommend a sentence of five years. And we would request that the plea
         be a binding plea. It’s my understanding that that offer was conveyed


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              Missouri   v. Frye, 566 U.S. 134 (2012).
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        to counsel - - I’m sorry, by counsel to the defendant and has been
        rejected.

               THE COURT:          Mr. Ferland, what is the government’s
        calculation of the Guideline range on all of the counts that will currently
        be before the jury on Monday?

               MR. FERLAND: The defendant is facing a minimum
        mandatory of 15 years. The fire in use of the commission of a federal
        felony is a ten-year minimum mandatory that must run consecutive to
        the underlying felony, which in this case is the wire fraud. And the
        arson is a minimum mandatory of five. The First Circuit has said that
        those sentences run consecutive to one another. His exposure is a
        minimum of 15 years.

              THE COURT:            Thank you, Mr. Ferland.

                [Counsel], have you explained the plea offer - - the final plea offer
        - - from the government to Mr. Saad?

              [COUNSEL]:         I have, your Honor. I discussed it verbally
        and in writing with Mr. Saad.

              THE COURT:           Mr. Saad, is that in fact correct? Have you
        discussed the plea offer from the government with your attorney?

              THE DEFENDANT: Yes, he has.

              THE COURT:           Okay.   And has he fully explained the
        implications of the plea and the implications of going forward in trial to
        you?

              THE DEFENDANT: Yes, he has.

              THE COURT:            To your satisfaction?

              THE DEFENDANT: Yes.

               THE COURT:           Okay. And you’ve rejected and continue today
        to reject the plea offer from the government?

              THE DEFENDANT: Yes, I do.




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   Id. It bears repeating that, when asked if Counsel had discussed the plea offer with

   him to his satisfaction, Mr. Saad responded affirmatively. See id.

            Post-hearing, Counsel again spoke with Mr. Saad regarding the Government’s

   offer:

            After the Frye hearing, Saad and I had a telephone conversation during
            which I once again sought to confirm his intention to reject the
            government’s offer and proceed to trial. During that conversation, Saad
            told me that, “It’s all or nothing, Bill.” [My associate] was present with
            me during this conversation and was able to hear Saad’s end of the
            conversation as well as mine.

            Based on my conversation and correspondence with Saad, I was
            confident at the time of trial that Saad understood the potential risks
            associated with rejecting the government’s plea offer and proceeding to
            trial.

   ECF No. 98-1 at 12 ¶¶ 24-25.

            It appears both from Counsel’s Affidavit and from Mr. Saad’s own statements

   to the Court during the Frye hearing that Counsel fulfilled his obligation to present

   and explain the Government’s plea offer to Mr. Saad and that Mr. Saad was

   determined to go to trial. According to Mr. Saad, “[a]lthough the record of the Frye

   hearing speaks to the Petitioner’s knowledge of the five year binding plea offer, it

   offers absolutely no insight into the advi[c]e counsel rendered to actually reject it.”

   ECF No. 92 at 63. However, Mr. Saad has provided no details as to what advice

   Counsel actually rendered, other than to assert that Mr. Saad could explain away his

   lies regarding his location at the time of the fire. See id. at 64; see also McGill, 11

   F.3d at 225. According to Mr. Saad, “had the overwhelming nature and caliber of the

   circumstantial case against him been properly and thoroughly explained to him by



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   counsel,” id., he would have pled guilty, id. In light of Counsel’s denial that he advised

   Mr. Saad to reject the plea offer—which Mr. Saad has not countered, for example,

   with an affidavit of his own or some other evidence—the Court cannot find that

   Counsel’s performance was ineffective.

         Although the Court need not address the prejudice prong, see Sleeper, 510 F.3d

   at 39, it is clear that Mr. Saad cannot demonstrate prejudice. Specifically, he cannot

   show that, but for Counsel’s advice, he would have accepted the plea offer. Lafler,

   566 U.S. at 164. Given his statement to the Court during the Frye hearing as well as

   his statements to Counsel both before and after the Frye hearing, it is clear that Mr.

   Saad’s choice was to go to trial. ECF No. 92-1 at 133 (affirming that he continued to

   reject the offer, on the eve of trial and after hearing his sentencing exposure); ECF

   No. 98-1 at 12 ¶ 23 (responding “[y]ou know my answer” when informed about the

   upcoming Frye hearing), ¶ 24 (informing Counsel that “[i]t’s all or nothing” when

   asked again about pleading after the Frye hearing).

         In addition, Mr. Saad argues that his “Sixth Amendment right to counsel

   during the plea bargaining process was also violated were [sic], given the totality of

   the circumstantial case against him, Counsel failed to pursue the viability of an

   Alford Plea.” ECF No. 92 at 64. With respect to this issue, Counsel states: “I never

   discussed a so-called Alford plea with Saad because, as a criminal defense attorney

   with extensive experience in the local federal court, I am aware that judges of the

   United States District Court for the District of Rhode Island will not accept an Alford

   plea.” ECF No. 98-1 at 11 ¶ 22. Based on his experience in and knowledge of this



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   Court, Counsel determined that an Alford plea was not a viable alternative. “Counsel

   cannot be deemed ineffective for failing to pursue futile arguments.” Dure, 127 F.

   Supp. 2d at 280; see also United States v. Cabrera, 215 F.3d 1312, 2000 WL 227937,

   at *1 (1st Cir. 2000) (unpublished table decision) (text available in Westlaw) (quoting

   Vieux, 184 F.3d at 64 (“Obviously, counsel’s performance was not deficient if he

   declined to pursue a futile tactic.”)).

            In sum, in no instance has Mr. Saad demonstrated that Counsel’s performance

   “fell below an objective standard of reasonableness.” Strickland, 466 U.S. at 688. The

   Court finds all his allegations that he received ineffective assistance of counsel to lack

   merit.

            C. Law Enforcement Misconduct

            Lastly, Mr. Saad claims that his Fourth, Fifth, and Sixth Amendment rights

   were violated when investigators: (1) used materially false statements to obtain a

   search warrant; (2) omitted material information from a search warrant application;

   (3) seized the pellet stove without a warrant, then committed perjury by testifying

   that a warrant was sought and obtained to seize the pellet stove; and (4) withheld the

   narrative of Officer Sousa from the defense. ECF No. 92 at 64-65. The Court

   addresses Mr. Saad’s allegations of law enforcement misconduct together as they all

   contain the same defect: they are wholly unsupported and unsubstantiated.11



                               
             The Government’s description of Ground Seven is apt: “Ground Seven
            11

   appears to be a legal grab bag into which Saad thrusts all of the constitutional claims
   that he portrays earlier in his petition as ineffective assistance of counsel claims.”
   ECF No. 98 at 20.
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          For example, in his section entitled “Supporting Facts,” Mr. Saad simply

   repeats the allegations contained in Ground Seven. Id. at 65. The one addition is the

   date of the search warrant in question, December 4, 2014. Id. Thus, as before, Mr.

   Saad    is   relying   on   mere   “conclusory   allegations”   and/or   “self-interested

   characterizations . . . .” McGill, 11 F.3d at 225. Moreover, to the extent that Mr. Saad

   refers to “all of the reasons stated above,” ECF No. 92 at 65, presumably referring to

   the entire Motion, such reference hardly constitutes developed argumentation, see

   United States v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990) (noting “settled appellate rule”

   that “issues adverted to in a perfunctory manner, unaccompanied by some effort at

   developed argumentation, are deemed waived”); see also Barreto-Barreto, 551 F.3d

   at 99-100 (deeming petitioners’ argument waived and declining to address it on

   merits because petitioners failed to develop argument beyond assertion). Moreover,

   the Court has already addressed “the reasons stated above[.]” ECF No. 92 at 65.

   Further, to the extent Mr. Saad failed to raise these issues on direct appeal, he has

   not attempted to show cause for his failure to do so, see Bousley, 523 U.S. at 622, and

   the Court has already rejected his actual innocence claim. Mr. Saad’s final ground or

   relief is, therefore, rejected.

                                       CONCLUSION

          Mr. Saad’s Motion lacks merit. The Court therefore DENIES Daniel Saad’s

   Motion to Vacate his conviction (ECF No. 92) under 28 U.S.C. § 2255.

                     RULING ON CERTIFICATE OF APPEALABILITY




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           Under Rule 11(a) of the Rules Governing § 2255 Proceedings in the United

   States District Courts (“§ 2255 Rules”), this Court finds that this case is not

   appropriate for issuing a certificate of appealability, because Mr. Saad has failed to

   make a substantial showing of the denial of a constitutional right on any claim, as

   required by 28 U.S.C. § 2253(c)(2).

           Mr. Saad is advised that any motion to reconsider this ruling will not extend

   the time to file a notice of appeal here. See § 2255 Rule 11(a).



   IT IS SO ORDERED.




    __________________________
   ___ ________________________
    John
    J  h JJ. M
             McConnell,
               C        Jr.
                     ll J
    Chief United States District Judge

   Date:     January 12, 2021




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